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07-10-00217-CV

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE SEVENTH DISTRICT OF TEXAS

&nbsp;

AT AMARILLO

&nbsp;

PANEL B

&nbsp;



JUNE 24, 2010

&nbsp;



&nbsp;

In re LUIS S. LAGAITE, JR., 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Relator

&nbsp;



&nbsp;

On Petition for Writ of Mandamus

&nbsp;



&nbsp;

Before QUINN, C.J., and
CAMPBELL and HANCOCK, JJ.

Pending
before the court is the application of Luis S. Lagaite,
Jr., for a writ of mandamus.&nbsp; Though it
is not clear what is sought, we interpret the petition as a request for us to
order the Honorable Ana Estevez, 251st District Court, to try a lawsuit styled Lagaite v. Boland, No. 97-061-CV.&nbsp; We deny the petition for the following
reasons.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; First, the document fails to comport
with the requirements of Texas Rule of Appellate Procedure 52.3(j).&nbsp; That is, Lagaite
did not certify that he reviewed the petition and concluded that every factual
allegation in it is supported by competent evidence.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Second, while the duty to act upon
matters filed with it may be ministerial, the trial court has a reasonable time
to do so.&nbsp; In re Bates, 65 S.W.3d 133, 134-35 (Tex. App.–Amarillo 2001, orig.
proceeding).&nbsp; Whether such a period has
been exceeded depends on various factors, as explained in In re Bates.&nbsp;&nbsp; Moreover, the
burden lies with Lagaite to prove that an
unreasonable amount of time has lapsed by addressing those factors.&nbsp; Id.&nbsp; He has not attempted to do so here.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, we deny the petition.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per
Curiam&nbsp; 





